Case 3:23-cv-03836-CRB Document 78-9 Filed 04/08/24 Page 1 of 5




            EXHIBIT G
                Case 3:23-cv-03836-CRB Document 78-9 Filed 04/08/24 Page 2 of 5

                                        COHEN WILLIAMS LLP                                                                   --
MARC S. WILLIAMS
Partner
Par tner



                          OVERVIEW                                               REPRESENTATIVE CASES




Marc is an accomplished civil litigator who is entrusted
by clients of every size—from startups to the Fortune
500—to handle bet-the-company cases. He routinely
obtains outstanding results at all stages of litigation.
His experience in the complex litigation arena includes
business litigation, partnership disputes, fiduciary
duties, contractual disputes, fraud, securities litigation,
unfair competition, business torts, legal malpractice,
trade secrets, copyright, trademark, idea submission,
rights of publicity, defamation, entertainment, real
estate, and healthcare.


Described by one client as "absolutely terrific at trial,"
Marc has earned a reputation in the courtroom for his
impressive results. Over a recent span of nine months,
he tried three jury trials to verdict, all of which resulted
in resounding victories for his clients. His success rests
largely on his strategic focus and analytical prowess.
Whether writing a brief, cross-examining a witness, or
presenting to the court, Marc homes in on the key
levers of a case and uses them to drive his argument
forward. In particular, he excels at translating intricate
legal theories into clear, convincing narratives that win jurors' support.


Marc's clients also value his business-like perspective on litigation. While he develops every case with a view toward trial,
he ultimately seeks to support his clients' objectives through cost-eﬃcient, creative solutions. With their bottom line as his
guiding principle, he considers all available tools and avenues to determine which will deliver the greatest reward with the
least risk and cost. His pre-trial strategizing often results in successful dispositive motions and settlements, leaving clients
free to resume business as usual.


Known as pragmatic and forthright, Marc builds trust through genuine collaboration. He maintains open lines of
communication to guide clients through the benefits and drawbacks to every decision. When diﬃcult judgment calls must
be made, he relies on his decades of experience to suggest—and pursue—the most advantageous path to resolution.
                Case 3:23-cv-03836-CRB Document 78-9 Filed 04/08/24 Page 3 of 5

Before co-founding Cohen Williams in 2014, Marc was a partner at One LLP, an entertainment and intellectual property
boutique litigation firm. Previously, he spent ten years as a litigator at O’Melveny & Myers LLP’s Los Angeles and Century
City oﬃces.




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   EDUCATION

   University of Southern California, J.D., 1998

   Tufts University, B.A., 1992


   CLERKSHIP

   Hon. Kim McLane Wardlaw, U.S. Court of Appeals for the Ninth Circuit


   BAR AND COURT ADMISSIONS

   California

   U.S. Court of Appeals for the Ninth Circuit

   U.S. District Court for the Central District of California, the Northern District of California, and the Southern District
   of California


   HONORS AND AWARDS

   Selected to Thomson Reuters' Super Lawyers list (2013-2023)




  Back to all attorneys




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                Case 3:23-cv-03836-CRB Document 78-9 Filed 04/08/24 Page 4 of 5

                                         COHEN WILLIAMS LLP

NEIL JAHSS
Counsel
C ounsel


Neil Jahss has more than a decade of experience as a
civil litigator for content creators and providers in the
media and entertainment industry as well as for a wide
variety of general business clients. He has handled
cases in all stages of litigation, including trials and
appeals, and also has advised clients on legal strategy
in non-litigation matters. Neil has a reputation for
outside-the-box critical thinking, painstaking attention
to detail, and eloquent writing.


Prior to practicing at CW, Neil spent 12 years as a
litigator at O'Melveny & Myers LLP, specializing in First
Amendment media defense and intellectual property
law. He represented magazines, television networks,
Internet websites, and TV and movie studios in high-
profile defamation, invasion of privacy, right of
publicity, copyright and trademark matters, both in the
courtroom and on an advisory basis. At O'Melveny, Neil
was known as one of the firm's premier writers,
authoring numerous dispositive motions leading to
dismissal of cases where defense clients were exposed
to several million dollars of liability, and briefs in both
the state and federal courts concerning cutting-edge issues aﬀecting the entertainment industry. Among his many
successful representations, Neil helped secure two significant victories after trial, one for a copyright plaintiﬀ that ended
with a multi-million dollar verdict (after making its way through the United States Supreme Court) and the other for a libel
defendant that resulted in a defense verdict.


Before joining the firm, Neil took a hiatus from representing content creators and providers in court and worked as a
content creator himself in unscripted television. He won three Emmy Awards as Supervising Producer for several seasons
on The Amazing Race. In addition to managing teams of editors and conceiving the structure, design and storylines of
countless episodes of CBS' legacy reality franchise, Neil worked on formatting, casting, field and post-production on other
network hits such as Big Brother and Trading Spouses.


Neil is an alum of Harvard Law School, where he taught legal research and writing to first-year law students and oversaw
the creation of cases for the first-year moot court competition as a leader on the Board of Student Advisers.
              Case 3:23-cv-03836-CRB Document 78-9 Filed 04/08/24 Page 5 of 5

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 EDUCATION

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 University of Virginia, B.A.


 BAR AND COURT ADMISSIONS

 California

 U.S. Supreme Court

 U.S. Court of Appeals for the Ninth Circuit

 U.S. District Court for the Central District of California




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